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IN 'I`HE UNI'I`ED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
PATRICIA COLLINS *
Plaintiff
*
V. Case No. JFM-13-55
=i¢
JUAN ARRISUENO, MD
Defendant ******
ORDER OF JUDGMENT
The jury having returned a verdict in favor of the Defendant against the Plaintiff, it is this
15th day of June , 20 17
ORDERED,
l.

Judgment is entered in favor of Det`endant against Plaintiff, with costs; and
2.

Any and all prior rulings made by the Court disposing of any claims against any

parties are incorporated by reference herein, and this Order shall be deemed to be a final
judgment Within the meaning of Fed. R. Civ. P. 58.

/OS/t/¢/{

J . frederick Motz 6/'

United States District Judge

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0rder cf Judgment (in favor of Defendant) (Rev. l?.fZOOO)

